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Attorneys for Defendants
PolarityTE, Inc.; Denver Lough; and Jeff Dyer


                             IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH


YEDID LAWI, Individually, and on Behalf of           NOTICE OF APPEARANCE OF
All Others Similarly Situated,                       MICHAEL R. MENSSEN
                       Plaintiff,                    Case No. 2:18-cv-00541-DB
         v.
                                                     The Honorable Dee Benson
POLARITYTE, INC.; DENVER LOUGH;
and JEFF DYER,

                       Defendants.


         PLEASE TAKE NOTICE that Michael R. Menssen of Stoel Rives LLP hereby appears as

counsel on behalf of Defendants PolarityTE, Inc.; Denver Lough; and Jeff Dyer in the above-

captioned action and requests that all further notices, inquiries, and copies of pleadings, papers or

other material relevant to this action be directed and served upon the following:

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         DATED: August 1, 2018
                                              STOEL RIVES LLP



                                              /s/ Michael R. Menssen
                                              Kenneth B. Black
                                              Michael R. Menssen

                                              Attorneys for Defendants
                                              POLARITYTE, INC.; DENVER LOUGH; and
                                              JEFF DYER




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of August, 2018, a true and correct copy of the

foregoing NOTICE OF APPEARANCE OF MICHAEL R. MENSSEN was served to counsel

who have appeared electronically in this action.




                                                       /s/ Rose Gledhill




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